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                      Exhibit A
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           DAY OF RESISTANCE TOOLKIT
                                   INTRODUCTION

National Students for Justice in Palestine is calling for a national day of resistance on
college campuses across occupied Turtle Island and internationally this Thursday, October
12th, 2023

On the 50th anniversary of the 1973 war, the resistance in Gaza launched a surprise
operation against the Zionist enemy which disrupted the very foundation of Zionist settler
society. On the morning of October 8th, the Palestinian resistance stormed the illegitimate
border fence, gaining control of the Gaza checkpoint at Erez, and re-entering 1948 Palestine.
Referred to as Operation Towfan Al-Aqsa (Al-Aqsa Flood), the resistance has taken
occupation soldiers hostage, fired thousands of rockets, taken over Israeli military vehicles,
and gained control over illegal Israeli settlements. In the West Bank, the Palestinian
resistance has called for collective action by the Palestinian masses amidst attempts by the
Zionist entity to lock-up the West Bank. The Palestinian resistance has called for mass
protests in every Palestinian city, and Palestinian workers have called for a general strike. ​In
Gaza, Israel has launched an onslaught of airstrikes. As of Sunday, Oct 8th at 12pm ET, Israel
has murdered 320 Palestinians and left over 2200 others injured. Despite this, our people
choose resistance over negotiated cages on our homeland. Fearlessly, our people struggle
for complete liberation and return.

Today, we witness a historic win for the Palestinian resistance: across land, air, and sea, our
people have broken down the artificial barriers of the Zionist entity, taking with it the facade
of an impenetrable settler colony and reminding each of us that total return and liberation to
Palestine is near. As the Palestinian student movement, we have an unshakable
responsibility to join the call for mass mobilization.

National liberation is near— glory to our resistance, to our martyrs, and to our steadfast
people.

JOIN THE DAY OF RESISTANCE NATIONAL CALL-IN MEETING
   ● On Monday, October 9th @ 5:00 PT/ 7:00 CT/ 8:00 ET, we will be hosting a national
      call-in meeting to meet with chapters, talk through the political significance of this
      moment, talk through how-to’s for the protest day of action and troubleshoot any
      support needed. Please RSVP here: https://forms.gle/AbK7RmidTRPYVcAfA

CALL TO ACTION: NATIONAL DAY OF RESISTANCE
   ● On Thursday, October 12th, National Students for Justice in Palestine is calling for a
      national day of resistance from the student movement for Palestine liberation on
      college campuses across occupied Turtle Island (so-called US and Canada) and
      beyond. We must continue to resist directly through dismantling Zionism, and
      wielding the political power that our organizations hold on our campuses and in our
      communities. We are asking chapters to host demonstrations on campus/in their




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       community in support of our resistance in Palestine and the national liberation
       struggle — one which they play a critical role in actualizing.
   ●   Please fill out this brief form to let us know what events you will be hosting! These
       will be posted and publicized on our social media – filling out this form will help us
       better coordinate and unify nationally as a student movement
       https://forms.gle/H7uqKuVL22AAtzUZA
   ●   Please upload any pictures or videos that you are comfortable with us sharing here!
       https://drive.google.com/drive/folders/1r4_5Ugt9eocMgvqm2J7FXlxRGTy0vXBJ

We will also be having a “how to organize a protest,” including roles, security, media
training, and more, on the National Call-in meeting on Monday, Oct 9th at 8pm ET. The
presentation + resources shared will be added to the tool-kit following the presentation.
If you need additional help organizing or planning your protest, please reach out to National
Students for Justice in Palestine. (RSVP link above).

If a protest is not possible, engagement across the movement — whether it be a sit-in,
disruption, or educational event — is highly encouraged!
Other ways to participate
     1. Table/Flyer on campus
            a. Challenging Zionist hegemony and popularizing our resistance is a critical part
                 of advancing our national movement! Print flyers to put up around your
                 campus. We encourage you to use any of the graphics linked in this toolkit.
                 Here is a Tabling 101, and for examples of tabling materials, click here and
                 here, For some tips on how to table and how to respond to common Zionist
                 arguments, click here
     2. Teach-ins
            a. Make sure people on your campus know what’s happening in Palestine, and
                 are armed with a framework which advances national liberation– host a
                 teach-in on your campus! We will include a teach-in during the National
                 Call-in meeting – please attend for inspiration. We will also be linking the
                 presentation in the toolkit following the call-in meeting.
     3. Sign onto statement from Bears for Palestine
            a. We welcome both individual and organizational endorsements onto this
                 statement by Berkeley Bears for Palestine in unwavering support of the
                 Palestinian resistance
            b.      Towfan Al-Aqsa Statement – Bears for Palestine
     4. Write a local statement of solidarity
            a. Statements of support show a cohesive and united movement. Work with
                 other organizations on your campus to put out a joint statement expressing
                 your campus’ support for Palestine.
     5. Share within your network/region:
            a. If you’re near other SJPs, let them know what you’re planning! If you’re in close
                 geographic proximity to one another, you may be able to plan a joint action.
     6. Help spread the word by sharing widely on your campuses and in your communities
            a. Contact student organizations across movements to share your action on
                 social media. Engage your community, and let everyone know that the
                 student movement on occupied Turtle Island stands firmly in support of
                 Palestinian resistance.




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                             MESSAGING & FRAMING

For over 75 years, our Palestinian people, through steadfast resistance, have waged
a prolonged war for liberation and return to our colonized homeland. What we are
witnessing now is a heightened stage of the Palestinian struggle–through tearing
down colonial infrastructure and liberating our colonized land from illegal
settlements and military checkpoints, our people are actualizing revolution.
Palestine will be liberated from the river to the sea, and our resistance, through their
bravery and love for land, continue to bring dignity and honor to the Palestinian
people. As the diaspora-based student movement for Palestine liberation, our
responsibility is to not only support, but struggle alongside our people back home.
The forces of Zionism engage in media campaigns which attack our people and
resistance from all sides– it is our responsibility, therefore, to break through their
hegemonic narratives of “war” and “unprovoked aggression,” and instead ground our
campuses and communities in a narrative which centers the legitimacy of resistance
and the necessity of complete liberation. Please find below a breakdown of
framework and important messaging which help contextualize, frame, and above all
normalize and support our fearless resistance.

   ●   When people are occupied, resistance is justified — normalize the resistance.
          ◆ The Palestinian people have the right to resist colonization and oppression. The
             Palestinian people have the right to return to their homeland and free
             themselves from the complete land, air, and sea siege they’ve been subjected
             to; this requires resistance, and it is both morally just and politically necessary.
             These events are the natural and justified response to decades of oppression
             and dehumanization.
          ◆ The fight for Palestinian liberation is a necessary struggle against an
             occupying and colonial state; not a “war” or “conflict.” It is a struggle for
             national liberation.
          ◆ In the eyes of the West, there is no “right” way for Palestinians to fight for their
             freedom. Every tactic is met with repression.
          ◆ The occupation, the day to day and the existence of Israel is not peaceful;
             there is no ‘maintaining the peace’ with a violent settler state.
          ◆ Settlers are not “civilians” in the sense of international law, because they are
             military assets used to ensure continued control over stolen Palestinian land.
          ◆ Responsibility for every single death falls solely on the zionist entity. They do
             not care one bit for the Geneva Conventions but demand Palestinians follow
             them to the letter.
   ●   Gaza as the cradle of resistance
          ◆ Gaza broke out of prison. Resistance fighters captured one of the bulldozers
             used to destroy Palestinian homes, and used it to breach the illegitimate
             border fence back into ‘48 Palestine.
          ◆ Gaza is being subject to collective punishment because the occupation
             knows liberation is inevitable.



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           ◆ Zionists are telling Gazans to leave while also denying them freedom of
               movement–this is a call for genocide of Palestinians.
                    ● “I say to the residents of Gaza: Leave now because we will operate
                       forcefully everywhere.”--Netanyahu
           ◆ This is not “unprovoked”. Apartheid, ethnic cleansing, indiscriminate bombing,
               arbitrary detention, destruction of infrastructure, 75 years of settler
               colonialism are provocations.
   ●   Liberation is material
           ◆ Liberation is not an abstract concept. It is not a moment circumscribed to a
               revolutionary past as it is often characterized. Rather, liberating colonized land
               is a real process that requires confrontation by any means necessary. In
               essence, decolonization is a call to action, a commitment to the restoration of
               Indigenous sovereignty. It calls upon us to engage in meaningful actions that
               go beyond symbolism and rhetoric. Resistance comes in all forms— armed
               struggle, general strikes, and popular demonstrations. All of it is legitimate,
               and all of it is necessary.
           ◆ “You don’t get freedom peacefully. Freedom is never safeguarded peacefully.
               Anyone who is depriving you of freedom isn’t deserving of a peaceful
               approach by the ones who are deprived of their freedom.”-Malcolm X
   ●   israel is fragile
           ◆ This action of resistance shatters the illusion of Israel as an impenetrable,
               indestructible entity. The zionist entity is fragile, and Palestinian resistance is
               alive. The iOF are still in disarray and the resistance fighters are still launching
               new attacks into 48.
           ◆ The zionist entity built a massive technological barrier to imprison Gaza that
               the resistance neutralized in hours. They massively underestimated the
               ingenuity of the resistance, and will continue to do so.
           ◆ Settlers are already fleeing the land, their ‘dedication’ to the settler colony is
               easily broken. The dedication of Palestianians for their national liberation is
               unshakable.
           ◆ From Rhodesia to South Africa to Algeria, no settler colony can hold out forever.
   ●   Unity Intifada
           ◆ The revolution is being waged across historic Palestine— not just
               cross-factional, but unifying our people in the name of resistance
           ◆ All Palestinian factions in Gaza appear to be participating under unified
               command.
           ◆ This is the first time since 1949 that a large-scale battle has been fought within
               ‘48 Palestine.
   ●   We as Palestinian students in exile are PART of this movement, not in solidarity
       with this movement.
           ◆ This is a moment of mobilization for all Palestinians. We must act as part of this
               movement. All of our efforts continue the work and resistance of Palestinians
               on the ground.

                                        HASHTAGS
   ●   #studentdayofresistance
   ●   #operationalaqsaflood
   ●   #nationalliberationisnear
   ●   #dayofresistance



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                        TEMPLATE GRAPHICS
CANVA GRAPHIC TEMPLATE LINK FOR PROTESTS [LINK WITH
BELOW GRAPHICS]

TABLING MATERIALS AND OTHER GRAPHICS COMING SOON




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